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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

 JANE DOE,

       Plaintiff,

 v.                                                               2:25-cv-69-JES-NPM

 INFLECTION RISK SOLUTIONS, LLC,

       Defendant.

                                       ORDER
       Jane Doe brings this suit under the Fair Credit Reporting Act (FCRA), 15

 U.S.C. § 1681, against defendant Inflection Risk Solutions, LLC. Doe alleges that

 her criminal records were automatically expunged over two years ago under

 Michigan’s Clean Slate law, MCL § 780.621 et seq. Nevertheless, Inflection Risk

 Solutions published her criminal records in a consumer report to Airbnb. As a result,

 Doe’s Airbnb account was removed, and she was prevented from booking necessary

 accommodations for family travel related to competitive barrel racing—a primary

 source of income. Because this action will necessarily include a discussion of Doe’s

 expunged criminal records, she moves for leave to proceed in pseudonym for pretrial

 public filings (Doc. 9). For the reasons discussed below, the court grants the motion.

       Generally, every pleading must name the parties. See Fed. R. Civ. P. 10(a).

 But a party “may proceed anonymously by establishing a substantial privacy right

 which outweighs the customary and constitutionally-embedded presumption of
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 openness in judicial proceedings.” Doe v. Neverson, 820 F. App’x 984, 986 (11th

 Cir. 2020) (citations omitted). The court considers various factors under the totality

 of the circumstances in determining whether privacy outweighs openness in a

 particular case. Those factors include “whether the party seeking anonymity ‘(1) is

 challenging government activity; (2) would be compelled, absent anonymity, to

 disclose information of the utmost intimacy; or (3) would be compelled, absent

 anonymity, to admit an intent to engage in illegal conduct and thus risk criminal

 prosecution.’” Id. (quoting In re Chiquita Brands Int’l Inc., 965 F.3d 1238, 1247

 (11th Cir. 2020)). And courts have also considered “‘whether the plaintiffs were

 minors, whether they were threatened with violence or physical harm by proceeding

 in their own names, and whether their anonymity posed a unique threat of

 fundamental unfairness to the defendant.’” Id. at 986-87 (quoting Plaintiff B v.

 Francis, 631 F.3d 1310, 1316 (11th Cir. 2011)). At bottom, a party may proceed

 anonymously “only in those exceptional cases involving matters of a highly sensitive

 and personal nature, real danger of physical harm, or where the injury litigated

 against would be incurred as a result of the disclosure of the plaintiff's identity.”

 Redacted v. Redacted, No. 24-11404, 2024 U.S. App. LEXIS 17305, *1 (11th Cir.

 July 15, 2024) (citing Doe v. Frank, 951 F.2d 320, 324 (11th Cir. 1992)).

       Here, “the injury litigated against—the disclosure of [Doe’s] expunged

 criminal record—would be incurred as a result of the disclosure of [Doe’s] identity


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 in the litigation.” Doe v. Priority Background Sols., Inc., No. 24-cv-337-JFH-SH,

 2024 WL 4564534, *2 (N.D. Okla. Oct. 24, 2024) (finding plaintiff could proceed

 under a pseudonym to pursue a claim under the FCRA after his expunged criminal

 record was provided to a prospective employer in a background check). Further,

 Doe’s anonymity in pretrial public filings does not pose a unique threat of

 fundamental unfairness to Inflection Risk Solutions. To be sure, Doe acknowledges

 that a protective order will allow her to disclose her identity to Inflection Risk

 Solutions while otherwise keeping her identity confidential. So the parties may refer

 to Jane Doe by her pseudonym. Jane Doe’s pseudonym status is for pretrial public

 filings only, not discovery (on that score, the parties are encouraged to reach a

 protective agreement without court involvement, see Civil Action Order, Doc. 11 at

 4-5).

         Accordingly, Doe’s motion to proceed in pseudonym (Doc. 9) is GRANTED.

 Doe shall promptly provide a copy of this order to Inflection Risk Solutions, LLC,

 and defendant may contact plaintiff counsel to obtain Doe’s identity, to which

 plaintiff counsel must respond.

                                                 ORDERED on March 7, 2025.




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